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MISSISSIPPI LEGISLATURE                               REGULAR SESSION 2018

B y: Representatives Read, Mims, Arnold,              To:   Appropriations
Bennett, Bounds, Brown, Currie, Gipson,
Holland, Mettetal, Myers, Turner, Watson




                               HOUSE BILL NO. 1600
                              (As Sent to Governor)


 1        AN ACT MAKING AN APPROPRIATION TO THE DEPARTMENT OF HUMAN
 2   SERVICES; AND FOR RELATED PURPOSES, FOR THE FISCAL YEAR 2019.

 3        BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MISSISSIPPI:

 4        SECTION 1.    The following sum, or so much thereof as may be

 5   necessary, is appropriated out of any money in the State General

 6   Fund not otherwise appropriated, to the Department of Human

 7   Services for the fiscal year beginning July 1, 2018, and ending

 8   June 30, 2019                                          $     167,573,006.00.

 9        SECTION 2.    The following sum, or so much thereof as may be

10   necessary, is appropriated out of any money in any special fund in

11   the State Treasury to the credit of the Department of Human

12   Services which is comprised of special source funds collected by

13   or otherwise available to the department for the support of the

14   various divisions of the department, for the purpose of defraying

15   the expenses of the department for the fiscal year beginning

16   July 1, 2018, and ending June 30, 2019

17                                                          $ 1,389,979,105.00.


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18        SECTION 3.    None of the funds appropriated by this act shall

19   be expended for any purpose that is not actually required or

20   necessary for performing any of the powers or duties of the

21   Department of Human Services that are authorized by the

22   Mississippi Constitution of 1890, state or federal law, or rules

23   or regulations that implement state or federal law.

24        SECTION 4.    Of the funds appropriated under the provisions of

25   Section 1 of this act and authorized for expenditure under the

26   provisions of Section 2 of this act, not more than the amounts set

27   forth below shall be expended; however, notwithstanding any other

28   provision in this act, it is the intent of the Legislature that

29   any amount of funds and positions may be transferred between the

30   Department of Human Services and the Department of Child

31   Protection Services in order to comply with agreements made by the

32   State of Mississippi with the United States District Court in

33   reference to the Olivia Y., et al. lawsuit.

34                        DEPARTMENT OF HUMAN SERVICES

35   FUNDING:

36        General Funds                                             69,578,708.00.

37        Special Funds                                           1,240,128,849.00

38              Total                                             1,309,707,557.00

39        With the funds appropriated for this budget, the following

40   positions are authorized:

41     AUTHORIZED POSITIONS:

42        Permanent:       Full Time                     1,741


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43                             Part Time                         1

44        Time-Limited:        Full Time                       474

45                             Part Time                         0

46                    DIVISION OF CHILD PROTECTION SERVICES

47        FUNDING:

48        General Funds                                                  97,994,298.00

49        Special Funds                                               137,850,256.00

50                     Total                                          247,844,554.00

51        With the funds appropriated for this budget, the following

52   positions are authorized:

53     AUTHORIZED POSITIONS:

54        Permanent:        Full Time                       1,537

55                         Part Time                             0

56        Time-Limited:     Full Time                         417

57                         Part Time                             0

58        None of the funds herein appropriated shall be used in

59   violation of Internal Revenue Service's Publication 15-A relating

60   to the reporting of income paid to contract employees, as

61   interpreted by the Office of the State Auditor.

62        SECTION 5.    It is the intention of the Legislature that the

63   Department of Human Services and Department of Child Protection

64   Services shall maintain complete accounting and personnel records

65   related to the expenditure of all funds appropriated under this

66   act and that such records shall be in the same format and level of

67   detail as maintained for Fiscal Year 2018.           It is further the


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68   intention of the Legislature that the agency's budget request for

69   Fiscal Year 2020 shall be submitted to the Joint Legislative

70   Budget Committee in a format and level of detail comparable to the

71   format and level of detail provided during the Fiscal Year 2019

72   budget request process.

73        SECTION 6.   Of the funds appropriated in Section 2 herein to

74   Department of Human Services, One Million Dollars ($1,000,000.00)

75   shall be transferred to the Department of Health, Child Care

76   Licensure Program from the Child Care Development Fund or other

77   appropriate special fund.     These funds are to be transferred to

78   the Board of Health no later than July 31, 2018.            The Department

79   of Health shall make a complete accounting to the Department of

80   Human Services detailing the uses of these funds in accordance

81   with federal and state regulations.

82        SECTION 7.   It is the intention of the Legislature that

83   whenever two (2) or more bids are received by this agency for the

84   purchase of commodities or equipment, and whenever all things

85   stated in such received bids are equal with respect to price,

86   quality and service, the Mississippi Industries for the Blind

87   shall be given preference.    A similar preference shall be given to

88   the Mississippi Industries for the Blind whenever purchases are

89   made without competitive bids.

90        SECTION 8.   The Department of Human Services and the

91   Department of Child Protection Services is authorized to expend

92   available funds on technology or equipment upgrades or


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 93   replacements when it will generate savings through efficiency or

 94   when the savings generated from such upgrades or replacements

 95   exceed expenditures thereof.

 96        SECTION 9.    It is the intention of the Legislature that none

 97   of the funds provided herein shall be used to pay certain

 98   utilities for state furnished housing for any employees.             Such

 99   utilities shall include electricity, natural gas, butane, propane,

100   cable and phone services.     Where actual cost cannot be determined,

101   the agency shall be required to provide meters to be in compliance

102   with legislative intent.     Such state furnished housing shall

103   include single-family and multi-family residences but shall not

104   include any dormitory residences.     Allowances for such utilities

105   shall be prohibited.

106        SECTION 10.   In compliance with the "Mississippi Performance

107   Budget and Strategic Planning Act of 1994," it is the intent of

108   the Legislature that the funds provided herein shall be utilized

109   in the most efficient and effective manner possible to achieve the

110   intended mission of this agency.     Based on the funding authorized,

111   this agency shall make every effort to attain the targeted

112   performance measures provided below:

113                                                                          FY2019

114   Performance Measures                                                   Target

115   Support Services

116        Percentage of Referred/Directed

117             Investigative Audits Conducted                                98.00


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118        Percentage of Special Investigations

119              Conducted                                                       95.00

120        Percentage of Referred/Obtained Fraud

121              Investigations Conducted Timely                                 98.00

122        Percentage of Referred Administrative

123              Disqualification Hearings and Fair Hearings

124              Conducted Timely                                                95.00

125        Percentage of Monitoring Reviews Conducted

126              within Acceptable Timeframes                                    98.00

127        Total Amount of Funds Recovered ($)                          10,936,551.00

128   Aging & Adult Services

129        In-home Services (Persons)                                         100,542

130        Community Services (Persons)                                        73,787

131        Number of Congregate Meals                                         232,791

132        Numbe of Home-Delivered Meals                                    1,486,361

133        Substantiated Incidences of Abuse of

134             Vulnerable Adults per 1,000 Population                            0.20

135        Home Delivered Meals, Percent Reduction

136             of Persons on Waiting List (%)                                    1.00

137   Child Support Enforcement

138        Number of Paternities Established                                   18,000

139        Change in Paternities Established (%)                                  0.00

140        Number of Obligations Established                                   22,500

141        Change in Obligations Established (%)                                  0.00

142        Total Collections ($)                                    365,000,000.00


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143        Change in Total Collections (%)                                                 0.00

144        Absent Parents Located (Number of)                                           60,000

145        Child Support Cases Current

146              on Payments (%)                                                          30.00

147   Community Services

148        Number of Elderly Served by CSBG & LIHEAP                                    19,579

149        Number of Handicapped Served                                                 18,400

150        Number of Households Achieving

151              Self-Sufficiency                                                           882

152        Increase in Rate of Household

153              Attaining Self Sufficiency (%)                                            2.00

154        Number of Households Stabilized                                              17,712

155        Increase in the Number of

156              Households Stabilized (%)                                                 2.00

157        Number of Households Weatherized                                                 516

158   Early Childhood Care & Dev

159        Number of Children Served                                                    28,000

160   Assistance Payments

161        Dollar Amount of Assistance ($)                                         690,000.00

162   Food Assistance

163        Average Monthly Households                                                  225,000

164        Supplemental Nutrition Assistance

165             Program - SNAP ($)                                                716,413,100

166        Percentage of Mississippi Households

167             Receiving SNAP Benefits (%)                                              22.51


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168   TANF Work Program

169        TANF Households per Month (AVG)                                      4,600

170        Work Program (Avg Persons Served)                                    1,107

171        TANF Work Program Participation Rate (%)                             60.00

172        Persons Employed                                                       720

173        Number of Households Receiving TANF

174              Benefits During the Year                                       4,600

175        Percentage of Households Receiving TANF

176              During the Year (%)                                             0.49

177        Percentage of TANF Participants in

178              Job Training Who Enter Employment (%)                          30.00

179        Percentage of TANF Participants in Job

180              Training Who Enter Employment at a Salary

181             Sufficient to be Ineligible for TANF (%)                        19.00

182        Percentage of TANF      Participants in Job

183             Training Who Remain Employed for:

184             One Year After Leaving the Program (%)                          75.00

185              Five Years After Leaving the Program (%)                       65.00

186   Social Services Block Grant

187        Clients Served, Family & Child Services                            75,611

188        Clients Served, Aging & Adult Services                             21,178

189        Clients Served, Youth Services                                     12,880

190   Youth Services

191        Community Services (Children Served)                               12,500

192        Institutional Component (Children Served)                              300


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193        Number of Volunteers - Community Services                             100

194        Children Placed in Alternative Placement                             0.00

195        Children Diverted from Institutional

196             Care (%)                                                       85.00

197        Recidivism Rate (%)                                                 20.00

198        A reporting of the degree to which the performance targets

199   set above have been or are being achieved shall be provided in the

200   agency's budget request submitted to the Joint Legislative Budget

201   Committee for Fiscal Year 2020.

202        SECTION 11.     It is the intent of the Legislature that the

203   Department of Human Services, Division of Child Support

204   Enforcement, make a concentrated effort to increase collections of

205   past due child support payments.     On or before January 1, 2019,

206   the Executive Director of the Department of Human Services shall

207   submit a report to the Legislative Budget Office detailing

208   year-to-date performance measures in the Child Support Enforcement

209   Program compared with the prior year.

210        SECTION 12.     It is the intention of the Legislature that the

211   Department of Human Services shall have the authority to spend

212   such additional funds as it shall receive from the federal

213   government in incentives or the federal match on those incentives

214   for the purpose of child support enforcement.

215        SECTION 13.   Of the funds appropriated in Section 1, Two

216   Hundred Fifty Thousand Dollars ($250,000.00) shall be transferred




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217   to the Juvenile Facility Monitoring Unit at the Department of

218   Public Safety no later than July 31, 2018.

219        SECTION 14.     Of the funds appropriated herein, to the

220   Department of Human Services One Million Dollars ($1,000,000.00),

221   is provided for the support of the Home Delivered Meals Program

222   and any additional funds that may be appropriated to this program.

223        SECTION 15.     The following sum, or so much thereof as may be

224   necessary, is appropriated out of any      money in the State Treasury

225   to the credit of the Capital Expense Fund, as created in Section

226   27-103-303, Mississippi Code of 1972, and allocated in a manner as

227   determined by the Treasurer's Office for the purpose of defraying

228   the expenses of the Department of Child Protection Services for

229   the fiscal year beginning July 1, 2018, and ending June 30, 2019..

230                                                               $12,000,000.00.

231        SECTION 16.     Of the funds provided in Section 1, herein to

232   the Department of Human Services, an amount not to exceed One

233   Hundred Thousand Dollars ($100,000.00) is provided to fund the

234   Senior Olympics Program.

235        SECTION 17.     Of the funds appropriated in Section 1, herein

236   to the Department of Child Protection Services, it is the

237   intention of the Legislature that Ninety-three Thousand Six

238   Hundred One Dollars ($93,601.00) shall be allocated to the

239   Mississippi Children's Trust Fund supported from General Fund

240   court assessments.




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241        SECTION 18.    In addition to all other funds appropriated in

242   this act, Four Thousand Seventy-five Dollars ($4,075.00) may be

243   paid to the Union County Chancery Clerk for the payment of prior

244   year invoices.

245        SECTION 19. It is the intention of the Legislature that the

246   Governor's Office, Division of Medicaid and the Department of

247   Human Services shall work together to implement HB 1090 of the

248   2017 Regular Session, known as the "Medicaid and Human Services

249   Transparency and Fraud Prevention Act".

250        SECTION 20.    The money herein appropriated shall be paid by

251   the State Treasurer out of any money in the State Treasury to the

252   credit of the proper fund or funds as set forth in this act, upon

253   warrants issued by the State Fiscal Officer; and the State Fiscal

254   Officer shall issue his warrants upon requisitions signed by the

255   proper person, officer or officers, in the manner provided by law.

256        SECTION 21.   This act shall take effect and be in force from

257   and after July 1, 2018.




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